                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                           NO. 5:20-CR-471-D-2



UNITED STATES OF AMERICA


                                                 ORDER TO SEAL DOCKET
                     V.                            ENTRY NUMBER 120


MATTHEW CAMERON COLEY



      Upon Motion of the Defendant, it is hereby ORDERED
                                                       ,, that Docket Entry
Number 120 be sealed until ·such time as the Court determines that the

aforementioned filing should be unsealed.



      SO ORDERED. This, the _Z._ day of      Novt.t.{.¼             , 2021.




                                            United States District Judge




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